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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 JAMIE GAVIN, et al.,
                                               Case No. 2:23-cv-12602
             Plaintiffs,
                                               HONORABLE STEPHEN J. MURPHY, III
 v.

 LADY JANE’S HAIRCUTS FOR MEN
 HOLDING COMPANY, LLC, et al.,

             Defendants.
                                   /

                 OMNIBUS OPINION & ORDER [24, 31, 32, 43]

      Plaintiffs Jamie Gavin, Lindsay Gibbons, and Jhamya Winters filed a class

action complaint against Defendants on behalf of themselves and others similarly

situated and alleged violations of the federal Fair Labor Standards Act, Florida

Constitution, Missouri Minimum Wage Act, and Oklahoma Minimum Wage Act. ECF

1.1 Plaintiffs moved for an order authorizing them to send notice of the suit “to their

similarly situated co-workers.” ECF 24, PgID 140. Defendants moved to dismiss the

complaint under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), ECF 31, and

Defendants also moved to stay consideration of Plaintiffs’ motion to send notice “until

[the] Court rules on Defendants’ Motion to Dismiss.” ECF 32, PgID 843. Last, the

parties jointly moved to extend the page limit for the parties’ briefing on the motion




1 Since the filing of the complaint, five other plaintiffs filed notices of intent to opt

into the proposed collective action. See ECF 6 (Plaintiff Tiffanie Wolf); ECF 39
(Plaintiff Melissa Speaker); ECF 46 (Plaintiff Jamie Lindquist); ECF 50 (Plaintiff
Chloe Kertesez); ECF 53 (Plaintiff Kimberly Burns).
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to dismiss. ECF 43. First, the Court will grant the joint motion to extend the page

limit. And for the reasons below, the Court will grant the motion to dismiss as to all

Plaintiffs, deny as moot the motion for an order authorizing Plaintiffs to send notice

of the suit, and deny as moot the motion to stay briefing.

                                LEGAL STANDARD

      Defendants moved to dismiss the complaint under Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). ECF 31. Rule 12(b)(1) provides that a party may

move to dismiss a case for “lack of subject-matter jurisdiction.” “A motion under Rule

12(b)(1) to dismiss a complaint for lack of subject matter jurisdiction must be

considered prior to other challenges since proper jurisdiction is a prerequisite to

determining the validity of a claim.” Bowles v. Sabree, No. CV 20-12838, 2022 WL

141666, at *3 (E.D. Mich. Jan. 14, 2022), (citation omitted). When they review a Rule

12(b)(1) motion, courts “ha[ve] wide discretion to allow affidavits, documents and

even a limited evidentiary hearing to resolve disputed jurisdictional facts.” Ohio Nat.

Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th Cir. 1990) (citations omitted).

Plaintiff has the burden of proving that jurisdiction exists. RMI Titanium Co. v.

Westinghouse Elec. Corp., 78 F.3d 1125, 1134 (6th Cir. 1996) (citation omitted). “If

the [C]ourt determines at any time that it lacks subject-matter jurisdiction, the

[C]ourt must dismiss the action.” Fed. R. Civ. P. 12(h)(3).

      Rule 12(b)(6), on the other hand, provides that a party may move to dismiss

the case for “failure to state a claim upon which relief can be granted.” And unlike a

12(b)(1) motion, Defendant “has the burden of proving that no claim exists.” Total



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Benefits Plan. Agency, Inc. v. Anthem Blue Cross and Blue Shield, 552 F.3d 430, 433

(6th Cir. 2008). The Court may grant a motion to dismiss under Rule 12(b)(6) if the

complaint fails to allege facts “sufficient ‘to raise a right to relief above the speculative

level,’ and to ‘state a claim to relief that is plausible on its face.’” Hensley Mfg. v.

ProPride, Inc., 579 F.3d 603, 609 (6th Cir. 2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555, 570 (2007)). On a Rule 12(b)(6) motion, courts may “consider the

[c]omplaint and any exhibits attached thereto . . . [and] items appearing in the record

of the case and exhibits attached to defendant’s motion to dismiss so long as they are

referred to in the [c]omplaint and are central to the claims contained therein.” Bassett

v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008) (citation omitted);

see also Decoration Design Sols., Inc. v. Amcor Rigid Plastics USA, Inc., 553 F. Supp.

3d 424, 427 (E.D. Mich. 2021) (Murphy, J.). The Court views the complaint in the

light most favorable to the plaintiff, presumes the truth of all well-pleaded factual

assertions, and draws every reasonable inference in the nonmoving party’s favor.

Bassett, 528 F.3d at 430. But the Court will not presume the truth of legal conclusions

in the complaint. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). If “a cause of action fails

as a matter of law, regardless of whether the plaintiff’s factual allegations are true or

not,” then the Court must dismiss the complaint. Winnett v. Caterpillar, Inc., 553

F.3d 1000, 1005 (6th Cir. 2009).

       Rule 12(b)(6) is the proper vehicle for dismissing a case in favor of arbitration.

Knight v. Idea Buyer, LLC, 723 F. App’x 300, 301 (6th Cir. 2018) (“A party’s failure

to pursue arbitration in spite of a compulsory arbitration provision means that the



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party has failed to state a claim,” and “a motion to dismiss on such grounds is

‘properly construed as a motion . . . under Rule 12(b)(6).”) (quotation marks and

quotation omitted).

                                  DISCUSSION

      The Court will first address the motion to dismiss. Defendants argued that the

Court should dismiss Plaintiffs Gavin, Winters, Wolf, and Speaker’s claims because

they signed valid, binding arbitration agreements as part of their employment with

Defendants. ECF 31, PgID 281. Defendants later submitted evidence that Plaintiffs

Lindquist, Kertesez, and Burns also signed arbitration agreements. ECF 47; ECF 51-

1; ECF 54-2, PgID 1288–90. Defendants then argued that the Court should dismiss

Plaintiff Gibbons’s claims because they are time-barred. ECF 31, PgID 306. Third,

and in the alternative, Defendants argued that the Court should stay the case under

the first-to-file rule because three nearly identical cases—all of which were filed

before the present case—are pending in the federal courts. Id. at 310. The Court will

address each argument in turn.

I.    Plaintiffs Gavin, Winters, Wolf, Speaker, Lindquist, Kertesez, and Burns

      Defendants argued that the Court should dismiss Plaintiffs Gavin, Winters,

Wolf, Speaker, Lindquist, Kertesez, and Burns’s claims because they signed valid,

binding arbitration agreements as part of their employment with Defendant Lady

Jane’s Haircuts. ECF 31, PgID 281; ECF 47; ECF 51-1; ECF 54-2. For the reasons

below, the Court will grant the motion to dismiss as to Plaintiffs Gavin, Winters,

Wolf, Speaker, Lindquist, Kertesez, and Burns.



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      A.     Arbitration Analysis

      The Federal Arbitration Act (FAA) applies to written provisions in a “contract

evidencing a transaction involving commerce to settle by arbitration a controversy

thereafter arising out of such contract or transaction.” 9 U.S.C. § 2. Under the FAA,

the Court must enforce valid arbitration agreements. In re StockX Customer Data

Sec. Breach Litig., 19 F.4th 873, 878 (6th Cir. 2021); see also 9 U.S.C. § 2. “By its

terms, the [FAA] leaves no place for the exercise of discretion by a district court but

instead mandates that the district courts shall direct the parties to proceed to

arbitration on issues as to which an arbitration agreement has been signed.” Dean

Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (emphasis in original) (citing

9 U.S.C. §§ 3–4). The Court must resolve “any ambiguities in the contract or doubts

as to the parties’ intentions” in favor of arbitration. Great Earth Cos., Inc. v. Simons,

288 F.3d 878, 889 (6th Cir. 2002) (citation omitted). A defendant may invoke

arbitration by (1) requesting a stay of the proceedings under § 3 while “the issue

“referable to arbitration under [the] agreement” is arbitrated, or (2) moving under § 4

for an “order directing that such arbitration proceed in the manner provided for in

[the arbitration] agreement.” Boykin v. Fam. Dollar Stores of Mich., LLC, 3 F.4th 832,

836–37 (6th Cir. 2021) (quotation marks and quotations omitted).

      When, however, neither party requests a stay and the claims in a lawsuit are

subject to a compulsory arbitration provision, the Court may dismiss the case for

failure to state a claim. Compare Knight, 723 F. App’x at 301 (affirming the district

court’s dismissal of an action subject to an arbitration agreement and noting that “a



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party’s failure to pursue arbitration in spite of a compulsory arbitration provision

means that the party has failed to state a claim.”) (alterations omitted) with Arabian

Motors Grp. W.L.L. v. Ford Motor Co., 19 F.4th 938, 942 (6th Cir. 2021) (reversing

the district court’s dismissal of an action subject to arbitration and noting that “[A]

district court should enter a stay in the normal course in this setting . . . There may

be situations in which a dismissal remains permissible—say a situation in

which . . . neither party asks for a stay.”); see also Hilton v. Midland Funding, LLC,

687 F. App’x 515, 519 (6th Cir. 2017) (affirming the district court’s dismissal after

compelling arbitration “[b]ecause none of the parties . . . requested a stay of

proceedings.”).

      To determine whether the claims are subject to a compulsory arbitration

provision, the Court examines the Glazer factors: (1) whether the parties agreed to

arbitrate; (2) the agreement’s scope; (3) whether Congress intended any federal

statutory claims asserted to be non-arbitrable; and (4) whether to stay the

proceedings if some claims are not arbitrable. Glazer v. Lehman Bros., 394 F.3d 444,

451 (6th Cir. 2005) (citation omitted).

      Consideration of the Glazer factors here supports granting the motion to

dismiss. First, the parties agreed to arbitrate. See Glazer, 394 F.3d at 451. The

employment agreement signed by Plaintiffs Gavin, Winters, Wolf, Speaker,

Lindquist, Kertesez, and Burns contained an arbitration clause that provided:

“[Defendants] and CONTRACTOR agree to use binding arbitration, instead of going

to court, for any ‘Covered Claims’ that arise . . . between CONTRACTOR and



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[Defendants].” See, e.g., ECF 31-2, PgID 328. And again, the agreement stated: “The

parties understand and agree that arbitration is the only forum for resolving Covered

Claims, and that both parties are waiving the right to a trial before a judge or jury in

federal or state court in favor of arbitration for Covered Claims.” Id. Plaintiffs Gavin,

Winters, Wolf, Speaker, Lindquist, Kertesez, and Burns all signed the agreement. Id.

at 329 (Plaintiff Gavin), 340 (Plaintiff Winters), 345 (Plaintiff Wolf), 352 (Plaintiff

Speaker); ECF 47, PgID 1221 (Plaintiff Lindquist); ECF 51-1, PgID 1252 (Plaintiff

Kertesez); ECF 54-2, PgID 1290 (Plaintiff Burns). Thus, the parties agreed to

arbitrate, and the first Glazer factor is satisfied.

       Second, the scope of the arbitration agreement is broad and covers the claims

Plaintiffs Gavin, Winters, Wolf, Speaker, Lindquist, Kertesez, and Burns brought. As

stated above, the arbitration agreement applied to “any ‘Covered Claims’ that

arise . . . between CONTRACTOR and [Defendants].” See, e.g., ECF 31-2, PgID 328.

Indeed, the arbitration agreement specifically provided that the arbitration clause

applied to “claims for . . . failure to pay wages, overtime, compensation, or other

renumeration.” Id. And the arbitration agreement expressly waived the right to bring

a collective action. Id. (“By signing this Agreement, the Parties waive any substantive

or procedural rights they may have to bring an action on a class, collective,

representative, or other similar basis against each other.”). The arbitration

agreement thus applies to the claims brought by Plaintiffs Gavin, Winters, Wolf,

Speaker, Lindquist, Kertesez, and Burns.




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      Third, no evidence suggests that Congress did not intend the claims brought

by Plaintiffs Gavin, Winters, Wolf, Speaker, Lindquist, Kertesez, and Burns to be

non-arbitrable. See Glazer, 394 F.3d at 451. Plaintiffs alleged failure to pay minimum

wages and failure to pay overtime wages in violation of the FLSA and Florida,

Missouri, and Oklahoma law, as well as unjust enrichment under Florida, Missouri,

and Oklahoma law. ECF 1, PgID 81–88. It is well established that wage-related

claims are arbitrable. See, e.g., Ramirez v. Bridgestone Retail Operations, LLC, No.

12-cv-14480, 2013 WL 1507221, at *3 (E.D. Mich. Apr. 12, 2013). “In particular,

statutory claims may be the subject of an arbitration agreement, including

employment discrimination claims and claims under the FLSA.” Walker v. Ryan’s

Fam. Steak Houses, Inc., 400 F.3d 370, 377 (6th Cir. 2005) (citation omitted). And no

evidence suggests that Congress did not intend State-law wage claims or State-law

enrichment claims to be non-arbitrable. See Great Earth, 288 F.3d at 889 (noting that

the Court must resolve “any ambiguities in the contract or doubts as to the parties’

intentions” in favor of arbitration). The third Glazer factor is therefore satisfied.2 And

because Plaintiff’s claims are subject to binding arbitration under a valid agreement

to arbitrate, the Court will grant Defendant’s motion as to Plaintiffs Gavin, Winters,

Wolf, Speaker, Lindquist, Kertesez, and Burns.




2 The fourth factor—“whether to say the proceedings if some claims are not
arbitrable”—does not apply here because the Court determined that all of Plaintiff’s
claims are subject to binding arbitration. Glazer, 394 F.3d at 451.
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      B.       Plaintiffs’ Objections

      Plaintiffs argued that the Court should not compel arbitration because the

arbitration agreements are void, unconscionable, and against public policy. Plaintiffs

gave three reasons in support of that claim, and the Court will address each in turn.

               1.   Applicable Law

      First,    Plaintiffs   argued     that   the   arbitration   agreements   are   void,

unconscionable, and against public policy because they “bind[] an arbitrator to

enforce Defendants’ policies and procedures as though they were the law.” ECF 44,

PgID 1057. The result of this, Plaintiffs argued, was that the arbitration agreement

effectively “eliminate[d] a stylist’s [ability] to bring a claim under the FLSA.” Id. at

1060. But the agreement does no such thing. True, the agreement also instructs the

arbitrator to adhere to any of Defendants’ “handbooks, rules, policies[, or] procedures”

that may be “applicable.” ECF 31-2, PgID 345. But rather than bind the arbitrator to

only Defendant’s policies, the arbitration agreement simply instructs him or her to

“apply the substantive law that is applicable to the claims.” Id. And the arbitrator

can only award whatever remedies “could be awarded by a court or administrative

agency under applicable statutory or common law.” Id. Plaintiff’s argument is thus

incorrect.3




3 See, e.g., Pugh v. Lady Jane’s Haircuts for Men Holding Co., LLC, 660 F. Supp. 3d

712, 728 (M.D. Tenn. 2023) (granting motion to compel arbitration under the same
arbitration agreement at issue here).
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               2.   Adhesion Contract

        Second, Plaintiffs argued that the arbitration agreement was an adhesion

 contract through which Defendants “are attempting to contract [] around the FLSA

 by requiring their stylists to waive their FLSA protections in order to work.” ECF 41,

 PgID 1063. Plaintiffs claimed that Defendants created and enforced the arbitration

 agreement without “negotiation or actual bargaining,” id., but Plaintiffs offered no

 factual support for that claim. See id. Plus, “[c]ontracts requiring arbitration as a

 condition of employment are not procedurally unconscionable under Michigan law.”

 Sande v. Masco Corp., No. 19-11511, 2019 WL 5191904, at *3 (E.D. Mich. Oct. 15,

 2019). Thus, Defendants’ inclusion of the above arbitration provision in their

 employment contracts does not, without more, make the provision unconscionable.

               3.   Cost-Prohibitive

        Third, Plaintiffs argued that the arbitration agreement is unenforceable

 because it is cost-prohibitive. ECF 41, PgID 1064. Plaintiffs claimed that, by making

 the agreement subject to the American Arbitration Association’s (AAA) commercial

 arbitration rules, which require the parties to split the costs of arbitration—rather

 than the employment arbitration rules, which require the employer to bear the costs

 of arbitration—“means that workers[] like hairstylists[] cannot effectively vindicate

 their rights.” Id. at 1065.

        “[W]hen a party seeks to invalidate an arbitration agreement on the ground

 that arbitration would be prohibitively expensive, that party bears the burden of

 showing the likelihood of incurring such costs.” Green Tree Fin. Corp.-Alabama v.



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 Randolph, 531 U.S. 79, 92 (2000). “A cost-splitting provision should be held

 unenforceable whenever it would have the ‘chilling effect’ of deterring a substantial

 number of potential litigants from seeking to vindicate their statutory rights.”

 Morrison v. Cir. City Stores, Inc., 317 F.3d 646, 661 (6th Cir. 2003). When a plaintiff

 demonstrates that arbitration is cost-prohibitive, the entire arbitration agreement

 unenforceable “unless the cost-splitting provision is somehow severable from the rest

 of the agreement.” Pugh, 660 F.Supp.3d at 724.

       Simply put, Plaintiffs demonstrated that the use of the AAA’s commercial rules

 is cost-prohibitive. In Pugh, a nearly identical case involving many of the same

 defendants, the same arbitration agreement, and the same motion to compel

 arbitration, the United States District Court for the Middle District of Tennessee

 found the use of the AAA’s commercial rules to be cost-prohibitive and therefore

 unenforceable. 660 F.Supp.3d at 724. The same is true here. Contrary to Defendants’

 argument, ECF 45, PgID 1169, Plaintiffs carried their burden of showing that they

 are likely to incur expenses that would be prohibitively high and would have a

 “chilling effect” on their attempts to vindicate their statutory rights. For instance,

 Plaintiffs argued that the costs of arbitration under the AAA’s commercial arbitration

 rules are “substantial” because they include “filing fees, administrative fees,” and the

 arbitrator’s fee, which “can add up to over $16,000.” ECF 44, PgID 1065. And “with

 typical employment arbitrations involving between fifteen and forty hours of

 arbitration time, that results in an additional $4,500 to $33,000 that each claimant

 would be financially responsible for.” Id. (cleaned up). Minimum wage workers,



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 Plaintiffs concluded, “cannot bear these costs, which can amount to more than a

 worker’s entire year’s pay.” Id. In support of this assertion, Plaintiffs attached

 declarations by Plaintiffs Gavin, Winters, Wolf, and Speaker in which they stated

 their annual income from working for Defendants. See ECF 44-1; ECF 44-2; ECF 44-

 3; ECF 44-4. For example, Plaintiff Gavin’s total earnings were $16,522.42 in 2021

 and $6,468 in 2022. ECF 44-1, PgID 1082; see also id. at 1086–87 (1099-K forms).

 Plaintiff Winters’s total earnings in 2023 were $9,000. ECF 44-3, PgID 1097. And

 Plaintiff Speaker’s total earnings were $42,596.14 in 2022. ECF 44-4, PgID 1102; see

 also id. at 1106 (W2 form). Those income numbers align with the median income for

 hair stylists in the United States, which is less than $30,000 per year. See Pugh, 660

 F.Supp.3d at 724; see also https://bit.ly/4a6Snii (https://perma.cc/A4RP-CYY5);

 https://bit.ly/3UqFaLk (https://perma.cc/5DBV-N3R4). Plaintiffs therefore carried

 their burden of showing that they are likely to incur expenses that would be too high

 for them or any similarly situated claimants to pay, which renders the entire

 arbitration agreement unenforceable “unless the cost-splitting provision is somehow

 severable from the rest of the agreement.” Pugh, 660 F.Supp.3d at 724.

       The cost-splitting provision is severable. The employment agreement signed

 by Plaintiffs has a severability provision that provides: “If any provision of this

 Agreement is held by a court of competent jurisdiction to be invalid, void or

 unenforceable, the remaining provisions shall nevertheless continue in full force

 without being impaired or invalidated in any way.” ECF 31-2, PgID 345. The Court

 will therefore sever the phrase “under its Commercial Arbitration Rules” from the



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 arbitration provision of the employment agreement. See Chattanooga Mailers’ Union,

 Loc. No. 92 v. The Chattanooga News Free Press Co., 524 F.2d 1305, 1313 (6th Cir.

 1975) (“[I]llegal contract provisions should not render the entire contract void unless

 the forbidden provision is so basic to the whole scheme of a contract and so interwoven

 with all its terms that it must stand or fall as an entity.”) (quotation marks and

 quotation omitted). Going forward, the agreement must be governed by the AAA’s

 default employment arbitration rules. See Pugh, 660 F.Supp.3d at 725.

       C.      Dismissal

       Because Plaintiffs Gavin, Winters, Wolf, Speaker, Lindquist, Kertesez, and

 Burns’s claims are subject to arbitration, the Court will dismiss the claims. The FAA

 instructs that, “upon being satisfied that the issue involved in such suit or proceeding

 is referable to arbitration,” the Court “shall on application of one of the parties stay

 the trial of the action until such arbitration has been had.” 9 U.S.C. § 3. But neither

 party requested a stay. See ECF 31; 44; 45. Defendants’ pleadings repeatedly

 reference only a dismissal of the complaint, not a stay. See ECF 31; 45. And Plaintiff

 did not request a stay in response. See ECF 44. When neither party requests a stay,

 and the claims are subject to arbitration, the Court may dismiss the case for failure

 to state a claim. Compare Knight, 723 F. App’x at 301 (affirming the district court’s

 dismissal of an action subject to an arbitration agreement and noting that “a party’s

 failure to pursue arbitration in spite of a compulsory arbitration provision means that

 the party has failed to state a claim.”) (alterations omitted) with Arabian Motors, 19

 F.4th at 942 (reversing the district court’s dismissal of an action subject to arbitration



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 and noting that “a district court should enter a stay in the normal course in this

 setting . . . There may be situations in which a dismissal remains permissible—say a

 situation in which . . . neither party asks for a stay.”). The Court will therefore

 dismiss without prejudice the claims of Plaintiffs Gavin, Winters, Wolf, and Speaker,

 Lindquist, Kertesez, and Burns.

 II.   Plaintiff Gibbons

       Defendants contended that Plaintiff Gibbons’s claims should be dismissed as

 time-barred. ECF 31, PgID 306. Specifically, Defendants argued that Plaintiff

 Gibbons’s FLSA claims should be dismissed because she filed her FLSA claims four

 years after her employment with Defendants ended—two years after the FLSA

 limitations period ended. Id. at 307. Defendants are correct. And the Court will

 dismiss Plaintiff’s Gibbons claims as time-barred.

       The limitations period for FLSA claims is two years. Walsh v. KDE Equine,

 LLC, 56 F.4th 409, 414 (6th Cir. 2022) (citation omitted).4 Plaintiff Gibbons worked

 for Defendants from 2014 until January 2, 2019. ECF 1, PgID 44; ECF 24-2, PgID

 172; ECF 31-2, PgID 324. The limitations period for Plaintiff Gibbons’s FLSA claims

 therefore ended on January 2, 2021. Yet the complaint was filed on October 16, 2023.

 See ECF 1. Plaintiff Gibbons’s FLSA claims are accordingly time-barred. And because

 the Court will dismiss Plaintiff Gibbons’s FLSA claims as time-barred, the Court will

 decline to exercise supplemental jurisdiction over Plaintiff Gibbons’s State-law unjust



 4 That period can be extended to three years if the plaintiff proves the alleged FLSA

 violation was willful. Walsh, 56 F.4th at 414. Plaintiff Gibbons did not allege a willful
 violation. See ECF 1; ECF 44.
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 enrichment claim and State-law wages claims. See 28 U.S.C. § 1367(c)(3) (stating that

 a district court may decline to exercise supplemental jurisdiction when “the district

 court has dismissed all claims over which it has original jurisdiction”); Gamel v. City

 of Cincinnati, 625 F.3d 949, 952 (6th Cir. 2010) (“When all federal claims are

 dismissed before trial, the balance of considerations usually will point to dismissing

 the State law claims.”) (cleaned up).

       Plaintiffs argued that the Court should equitably toll the limitations period for

 Plaintiff Gibbons’s FLSA claims. ECF 44, PgID 1070. Plaintiff Gibbons asserted that

 she did not bring her FLSA claims at an earlier date “because she was informed by

 her superiors that she had no viable wage claims.” Id. at 1071. She attached an

 affidavit in which she stated that, based on “discussions with [her] manager, [she]

 was under the impression that [she] had no right to pursue any legal claims for [her]

 pay because [she] was classified as an Independent Contractor.” ECF 44-2, PgID

 1090. According to Plaintiff Gibbons, she “only recently learned about [her] ability to

 pursue [her] claims after being contacted by another stylist who worked with [her].”

 Id. at 1091.

       “The doctrine of equitable tolling allows courts to toll a statute of limitations

 when a litigant’s failure to meet a legally-mandated deadline unavoidably arose from

 circumstances beyond that litigant’s control.” Robertson v. Simpson, 624 F.3d 781,

 783 (6th Cir. 2010) (quotation marks and quotation omitted). It is “used sparingly by

 federal courts.” Id. at 784 (citation omitted). The party seeking equitable tolling must

 prove that they are entitled to it. Id. (citation omitted). In determining whether to



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 equitably toll a limitations period, courts can consider “1) lack of notice of the filing

 requirement; 2) lack of constructive knowledge of the filing requirement; 3) diligence

 in pursuing one’s rights; 4) absence of prejudice to the defendant; and 5) the plaintiff’s

 reasonableness i[n] remaining ignorant of the particular legal requirement.” Truitt v.

 County of Wayne, 148 F.3d 644, 648 (6th Cir. 1998) (citation omitted).

       The Truitt factors do not favor equitable tolling here. Plaintiff Gibbons offered

 only her statement that an unnamed manager told her she had no viable claims. See

 ECF 44-2, PgID 1090. That statement does not evidence that Plaintiff Gibboons

 lacked notice or knowledge of the filing requirement. And it does not demonstrate

 diligence in pursing Plaintiff Gibbons’s rights. If Plaintiff Gibbons had diligently

 pursued her rights, she would have consulted a lawyer. It was not diligent or

 reasonable to rely on the manager’s representations about Plaintiff Gibbons’s legal

 rights. Last, Defendants would be prejudiced by equitable tolling because they would

 be subject to liability of Plaintiff Gibbons’s FLSA claims—which are otherwise time-

 barred. Because all five factors weigh against equitable tolling, the Court will dismiss

 Plaintiff Gibbons’s claims as time-barred.

                                     CONCLUSION

       Plaintiffs Gavin, Winters, Wolf, Speaker, Lindquist, Kertesez, and Burns’s

 claims are subject to compulsory arbitration. Because no party requested a stay, the

 Court will dismiss their claims without prejudice. Plaintiff Gibbons’s FLSA claims

 are time-barred. The Court will therefore dismiss Plaintiff Gibbons’s FLSA claims

 with prejudice and decline to exercise supplemental jurisdiction over Plaintiff



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 Gibbons’s remaining State law claims. And because no claims remain, the Court will

 deny the motion to certify class, ECF 24, and motion to stay briefing, ECF 32, as

 moot. The Court will grant the motion for leave to file excess pages, ECF 43.

                                        ORDER

       WHEREFORE, it is hereby ORDERED that the motion to dismiss [31] is

 GRANTED as to all Plaintiffs.

       IT IS FURTHER ORDERED that the joint motion to extend page limits [43]

 is GRANTED.

       IT IS FURTHER ORDERED that the motion to certify [24] is DENIED AS

 MOOT.

       IT IS FURTHER ORDERED that the motion to stay [32] is DENIED AS

 MOOT.

       This is a final order that closes the case.

       SO ORDERED.

                                         s/ Stephen J. Murphy, III
                                         STEPHEN J. MURPHY, III
                                         United States District Judge
 Dated: May 16, 2024




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